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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION



 CASA, INC. and MAKE THE ROAD NEW
 YORK

         Plaintiffs,
                                                  Case No. 8:25-cv-00525-GLR
 v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, and
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY

         Defendants.


           NOTICE OF CROSS-MOTION FOR A STAY OF AGENCY ACTION

       PLEASE TAKE NOTICE that, in response to Defendants’ Motion to Stay Partial Summary

Judgment Briefing (ECF No. 27) (“Stay Motion”), Plaintiffs CASA, Inc. and Make the Road New

York will and hereby do cross-move for an order pursuant to 5 U.S.C. § 705 staying the effective

date of the following agency actions pending judicial review by this Court:

           •    Defendants’ decision of February 3, 2025 at 90 Fed. Reg. 8805, purporting to
                “vacate” the extension of Temporary Protected Status (“TPS”) for Venezuela
                issued on January 17, 2025; and

           •    Defendants’ order of February 5, 2025 at 90 Fed. Reg. 9040, purporting to issue a
                new decision terminating the 2023 TPS designation for Venezuela.

       To prevent irreparable harm, and in the event that the Court does not grant Plaintiffs’

Motion for Partial Summary Judgment (ECF No. 8) prior to that date, Plaintiffs respectfully ask

this Court to act on this cross-motion on or before April 7, 2025, the date on which Defendants’

unlawful acts are set to take effect.
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       This Cross-Motion is based upon this Notice of Cross-Motion; the accompanying

Memorandum in Opposition to Defendants’ Motion to Stay Partial Summary Judgment Briefing

and in Support of Plaintiffs’ Cross-Motion for a Stay of Agency Action; the Declarations of Nowell

D. Bamberger (ECF No. 8-2), George Escobar (ECF No. 8-9) and Sienna Fontaine (ECF No. 8-

10); the pleadings and filings in this case; any additional matter of which the Court may take

judicial notice; and such further evidence or argument as may be presented before, at, or after

related hearings.



Date: March 10, 2025

Respectfully submitted,

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